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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

          Plaintiff,

 v.                                                 Case No. CR-22-034-RAW

 SEAN PAUL BAKER,

          Defendant.


                                              ORDER

         The Defendant has been charged in this case with the sexual abuse of his step-daughter

D.P. He is specifically charged with two counts of aggravated sexual abuse in Indian Country on

or about February 6, 2015, in violation of 18 U.S.C. §§ 2241(c), 2246(2)(B) and (C), 1151, and

1153 before she had attained the age of 12 years, and one count of sexual abuse of a minor in

Indian Country on or about February 6, 2021, in violation of 18 U.S.C. §§ 2243(a), 2246(2)(D),

1151, and 1153 after she had attained the age of 12 years but before she had attained the age of

16 years.

         Now before the court is the Government’s motion in limine to preclude certain evidence

pursuant to Federal Rules of Evidence 412, 401, 402, 403, 801, and/or 802. Specifically, the

Government moves to preclude the introduction of four YouTube clips made by the alleged

victim in this case that are sexual in nature. The Government argues that the clips would be

offered only as evidence of the alleged victim’s sexual predisposition.

         Rule 412(a) prohibits the use of: “(1) evidence offered to prove that a victim engaged in

other sexual behavior; or (2) evidence offered to prove a victim’s sexual predisposition.”

Fed.R.Evid. 412(a). Rule 412(b)(1) provides the following exceptions whereby a court may
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admit such evidence in a criminal case: “(A) evidence of specific instances of a victim’s sexual

behavior, if offered to prove that someone other than the defendant was the source of semen,

injury, or other physical evidence; (B) evidence of specific instances of a victim’s sexual

behavior with respect to the person accused of the sexual misconduct, if offered by the defendant

to prove consent or if offered by the prosecutor; and (c) evidence whose exclusion would violate

the defendant’s constitutional rights.” Fed.R.Evid. 412(b)(1).

       Defendant argues that he does not seek to introduce the videos to establish the alleged

victim’s sexual predisposition, but to show that she “is a talented storyteller who, a year prior to

this outcry, told fictional accounts of sexual behavior with elements of the story reflected in a

later outcry.” The videos, which the court has viewed and determined are sexual in nature, fall

squarely within the confines of Rule 412. It is also clear despite the Defendant’s arguments that

the first two exception under Rule 412(b) are not applicable here. Moreover, exclusion of this

evidence does not violate the defendant’s constitutional rights. See United States v. A.S., 939

F.3d 1063, 1073 (10th Cir. 2019) (“the class of cases in which evidence otherwise barred by the

rape shield statute has been deemed to be constitutionally compelled is restricted to those which

demonstrate a theory of witness bias or motive to lie.”) (citation omitted).

       Additionally, the court notes that to the extent the videos are relevant, their probative

value is substantially outweighed by a danger of unfair prejudice, confusing the issues, and

misleading the jury. The Government’s motion [Docket No. 61] is hereby GRANTED.

       IT IS SO ORDERED this 17th day of November, 2022.



                                              ______________________________________
                                              THE HONORABLE RONALD A. WHITE
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF OKLAHOMA

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